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                 IN IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division
____________________________________
                                     )
DENISE RANDLES                       )
                                     )
      Plaintiff,                     )
                                     )
              v.                     ) C.A. No. 1:23cv00142 (AJT/JFA)
                                     )
THE TOWN OF HERDON                   )
                                     )
      Defendant.                     )
____________________________________)




                       PLAINTIFF’S DISPUTED JURY INSTRUCTIONS1




October 11, 2023                                     Respectfully submitted,

                                                     ______/S/_____________
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    The parties are continuing to confer
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                                           9656



       I hereby certify on the 11th day of October 2023, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system which will send a notification of such filing to the
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